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  DOWD, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

  United States of America,                        )
                                                   )     CASE NO. 1:07 CR 338
                 Plaintiff,                        )
                                                   )
         v.                                        )     MEMORANDUM OPINION
                                                   )
  Shaneka Pittman                                  )
  Donald Littleton                                 )
                                                   )
                 Defendants.                       )
                                                   )

                                             Introduction

         The superseding indictment in this case names 25 defendants, all of whom are charged in

  count 1 with conspiracy to possess with intent to distribute and to distribute cocaine, PCP, and

  marijuana.

         The two defendants, Pittman and Littleton, have each filed motions to suppress cocaine

  seized from codefendants.

         Count 2 of the superseding indictment charges:

                         On or about October 9m, 2006, in the Northern District of
                 Ohio, Eastern Division, ALESHIA BRYANT, ALRAINA LIGON,
                 SHERONDA LIGON, and Jarese Pannell, aided and abetted by
                 SHANEKA PITTMAN, aka Shaneka Sherrills, aka Alexis Price,
                 did knowingly and intentionally possess with the intent to
                 distribute 5 kilograms or more of a mixture or substance
                 containing a detectable amount of cocaine, a Schedule II narcotic
                 controlled substance.

                        All in violation of title 21, United States Code, Sections
                 841(a)(1) and (b)(1)(A) and Title 18, United States Code, Section
                 2.
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         Count 3 of the superseding indictment charges:

                          On or about January 18, 2007, in the Northern District of
                  Ohio, Eastern Division, MARLENE BROWN, Janice Johnson, and
                  JANAYE THORNTON, aided and abetted by DONALD
                  LITTLETON, aka Thomas Jones, aka Qualo, did knowingly and
                  intentionally possess with the intent to distribute 500 grams or
                  more of a mixture or substance containing a detectable amount of
                  cocaine, a Schedule II narcotic controlled substance.

                         All in violation of Title 21, United States Code, Sections
                  841(a)(1) and (b)(1)(B) and Title 18, United States Code, Section
                  2.

         Each motion to suppress has resulted in separate evidentiary hearings. Both motions to

  suppress relate to cocaine seized from passengers in vehicles being driven first by Shaneka

  Pittman on October 9, 2006 and second by Donald Littleton on January 18, 2007. In each

  evidentiary hearing, the government produced testimony indicating a traffic stop of the vehicles,

  a subsequent use of a canine who gave a positive alert for the presence of a controlled substance,

  a subsequent search of the passengers in each of the two vehicles with a subsequent seizure of

  bricks of cocaine under the control of the passengers. Counts 2 and 3 in the superseding

  indictment relate directly to the seizure of the cocaine. Neither Shaneka Pittman nor Donald

  Littleton testified in support of their respective motions to suppress. Consequently, neither

  Pittman nor Littleton offered testimony to support a privacy interest in the cocaine seized from

  the passengers in the vehicles which they were driving, and as to Pittman on October 9, 2006 and

  as to Littleton on January 18, 2007.

                          II. Have Either Pittman or Littleton Established
                          Standing in Support of Their Motions to Suppress




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             In a supplemental brief on the issue of standing, counsel for Shaneka Pittman alleges “It

  is likewise the law that an individual challenging a search must have some expectation of

  privacy in order to contest the search of places and items seized” and cites as authority United

  States v. King, 55 F.3d 1193 (6th Cir. 1995). Counsel for the defendant slightly mischaracterizes

  King. Rather, the decision in King, page 1195, states “to allege a Fourth Amendment violation,

  an individual must have ‘a legitimate expectation of privacy in the items searched or seized”. In

  King the defendant’s assertion of privacy in letters he had sent to his wife was rejected.

  Specifically, in rejecting the Fourth Amendment claim, Judge Bertelsman, writing on behalf of

  the circuit, declared “In this case, King voluntarily mailed the letters at issue to his wife.

  Although he may have instructed her to preserve the confidentiality of the letters, there is no

  evidence that he expected her to return the letters to him. Under those circumstances, his

  expectation of privacy in the letters terminated upon delivery of the letters to his wife.

  Therefore, King lacks standing to allege a Fourth Amendment violation in the seizure of those

  letters.

             “In addition, even if King had standing, the letters should not be suppressed because the

  government acquired them through the actions of a private individual. The Fourth Amendment

  does not apply to searches or seizures by private persons. Jacobsen, 466 U.S. at 114, 104 S.Ct.

  at 1656. Rather, it ‘proscribes only governmental action and does not apply to a search or

  seizure, even an unreasonable one, conducted by a private individual not acting as an agent of

  the government or with the participation or knowledge of any governmental official’. United




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  States v. Lambert, 771 F.2d 83, 89 (6th Cir.), cert. denied, 474 U.S. 1034, 106 S.Ct. 598, 88

  L.Ed.2d 577 (1985)”.

         Neither Pittman or Littleton, the drivers of the two vehicles, testified that they provided

  the cocaine seized from the passengers in the vehicles. No testimony was offered in support of

  the two motions to suppress that the drivers of the two vehicles had provided the cocaine to the

  passengers or even were aware that the passengers were couriers of the cocaine seized. No case

  law has been provided to support the proposition that the fact that Counts 2 and 3 of the

  superceding indictment allege that Pittman (as to Count 2) and Littleton (as to Count 3) allege

  that Pittman and Littleton were aiding abetting the passengers in the vehicles with possession

  with intent to distribute cocaine equates the act of aiding and abetting with standing to contest

  the seizure of the cocaine from the passengers. In sum the seizure of cocaine from a passenger in

  a motor vehicle, standing alone, does not provide standing to the driver of the vehicle to contest

  the seizure.

         As a consequence, the motions of both Pittman and Littleton fail for the lack of standing.1

     III. The Validity of the Traffic Stops of the Two Vehicles Driven by Pittman and Littleton




         1
          The Court conducted an evidentiary hearing on defendant Littleton’s motion to suppress
  on August 14, 2007. A transcript of the hearing has been filed (see Docket No. 176). At the
  conclusion of the hearing, the Court raised the issue of standing with counsel for Littleton. After
  acknowledging that the Court had received the brief from defendant Pittman on the issue of
  standing, the Court gave counsel for defendant Littleton to file a supplemental brief on the issue
  of standing providing that the brief was filed by Monday, August 20, 2007. A review of the
  docket indicates that no brief on behalf of Littleton on the issue of standing has been filed.
  Apparently, counsel for Littleton relies on the brief filed by Pittman on the issue of standing.

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         The Pittman vehicle was stopped on October 9, 2006 by a Ohio Highway State Trooper

  for a traffic violation. Subsequently, and without an unnecessary delay, a canine trained to detect

  the odor of cocaine arrived at the site of the stop of the Pittman vehicle and alerted for the

  presence of cocaine. The subsequent seizure of cocaine packages from the passengers in the

  vehicles followed. The court finds that the traffic stop was lawful and the subsequent use of the

  canine and eventual seizure of the cocaine did not violate the strictures of the 4th amendment.

         A subsequent stop of the Littleton vehicle on January 18, 2007 under circumstances

  similar to the stop of the Pittman vehicle followed. After considering the testimony involving

  that stop, initiated by a Ohio Highway State Trooper and determining that the stop followed a

  traffic violation, the subsequent use of a canine who also alerted on the Littleton vehicle did not

  violate the Fourth Amendment.

                                            IV. Conclusion

         Both motions to suppress fail for the lack of standing on the part of the defendants,

  Pittman and Littleton. Alternatively, the Court finds the traffic stops and subsequent seizures did

  not offend the Fourth Amendment.

         The motion to suppress by Pittman and the motion to suppress by Littleton are DENIED.

         This case remains on the trial list for Monday, September 24, 2007 in Akron.

         IT IS SO ORDERED.


   August 21, 2007                                 /s/ David D. Dowd, Jr.
  Date                                           David D. Dowd, Jr.
                                                 U.S. District Judge




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